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                EXHIBIT 16
    Case 1:23-cv-01599-ABJ-ZMF Document 110-5 Filed 09/14/23 Page 2 of 4


From:            Farer, Jennifer
To:              Adler, Jeremy; Scarlato, Matthew
Cc:              McLucas, William; Smith, Tiffany; Beville, Matthew; gcanellos@milbank.com; mlaroche@milbank.com; DaSilva,
                 Joe
Subject:         RE: SEC v. Binance Holdings Ltd., et al. (1:23-cv-01599)
Date:            Saturday, August 5, 2023 10:09:00 AM


Counsel,

We write to follow up on yesterday’s call and our ongoing discussion about responsive information
concerning the infrastructure, systems, and software involved in wallet creation and management
and custody of assets. We continue to try to work with you in good faith to identify more specific
categories of information responsive to our discovery requests that are necessary for the evaluation
of wallets and custody of assets.

To that end, for Ceffu, Binance.com, and the third-party custodians used by Binance.US for custody
and control of Customer Assets and the assets of the BAM Entities, please provide all SOC reports;
ISO Certifications; user entity, access, and security controls; change management controls; a list of
all infrastructure environments, systems, and software involved in wallet creation and management
and custody of assets; identification of the technology that supports Binance.US that is located on
the Binance.com AWS environment; and identification of all users with access to the relevant
infrastructure, systems, and software.

Please let us know if you have any questions or want to discuss.

Thank you.

Jennifer L. Farer
U.S. Securities and Exchange Commission
100 F Street N.E. | Washington, D.C. 20549

From: Adler, Jeremy <Jeremy.Adler@wilmerhale.com>
Sent: Friday, August 4, 2023 4:54 PM
To: Farer, Jennifer <FarerJ@SEC.GOV>; Scarlato, Matthew <scarlatom@SEC.GOV>
Cc: McLucas, William <William.McLucas@wilmerhale.com>; Smith, Tiffany
<Tiffany.Smith@wilmerhale.com>; Beville, Matthew <Matthew.Beville@wilmerhale.com>;
gcanellos@milbank.com; mlaroche@milbank.com; DaSilva, Joe <JDaSilva@milbank.com>
Subject: RE: SEC v. Binance Holdings Ltd., et al. (1:23-cv-01599)

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attachments unless you recognize the sender and know the content is safe.

Thank you Jennifer. That works for us. I’ll send out an invite.

All the best,
Jeremy
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From: Farer, Jennifer <FarerJ@SEC.GOV>
Sent: Friday, August 4, 2023 4:42 PM
To: Adler, Jeremy <Jeremy.Adler@wilmerhale.com>; Scarlato, Matthew <scarlatom@SEC.GOV>
Cc: McLucas, William <William.McLucas@wilmerhale.com>; Smith, Tiffany
<Tiffany.Smith@wilmerhale.com>; Beville, Matthew <Matthew.Beville@wilmerhale.com>;
gcanellos@milbank.com; mlaroche@milbank.com; DaSilva, Joe <JDaSilva@milbank.com>
Subject: RE: SEC v. Binance Holdings Ltd., et al. (1:23-cv-01599)

EXTERNAL SENDER


Jeremy,

We can do 5:30 today. Let us know if that works for you. If so, please send a dial-in.

Thanks.

Jennifer L. Farer
U.S. Securities and Exchange Commission
100 F Street N.E. | Washington, D.C. 20549

From: Adler, Jeremy <Jeremy.Adler@wilmerhale.com>
Sent: Friday, August 4, 2023 4:17 PM
To: Farer, Jennifer <FarerJ@SEC.GOV>; Scarlato, Matthew <scarlatom@SEC.GOV>
Cc: McLucas, William <William.McLucas@wilmerhale.com>; Smith, Tiffany
<Tiffany.Smith@wilmerhale.com>; Beville, Matthew <Matthew.Beville@wilmerhale.com>;
gcanellos@milbank.com; mlaroche@milbank.com; DaSilva, Joe <JDaSilva@milbank.com>
Subject: SEC v. Binance Holdings Ltd., et al. (1:23-cv-01599)

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attachments unless you recognize the sender and know the content is safe.

Jen and Matt,

In response to certain of the issues raised by you in our call yesterday we propose the
following.

   1. We will provide any documents BAM has that are relevant to the Ceffu role in creating
      the new wallets for Customer Crypto Assets (as required by Section II.2. of the Consent
      Order) and we will explain what we understand the process to entail. We will attempt to
      do this by early next week.
   2. On your request for depositions we propose that you take depositions of Erik Kellogg,
      Sara Sisenwein and Tao Zhang, who runs BAM’s Clearing Team
             . We also propose that you depose            , a shard holder. If, after deposing
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                    , you have additional questions concerning those holding the shards and
        their use, we can discuss whether additional shard holders should be deposed.
     3. On your request for communications related to the audit of BAM, we assume you have
        all of the auditors’ workpapers. If your questions or concerns relate to the issue of the
        custody agreement involving BHL and whether it was operational or not, we will explain
        what we understand the facts are related to that arrangement and how it worked.

Since the expedited discovery is addressed to matters “concerning the Customer Assets and
their possession, custody, control, transfer or movement, security segregation, availability and
any encumbrances or limitations . . . [that might make them unavailable],” we believe the
foregoing should address many of the questions you might have.   However, we think it may
be helpful to discuss these items. Are you available for a call today at either 4:30 or 5pm ET?

Thanks,
Jeremy


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